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UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OFUnited
                                                                          TEXAS States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
Jane Doe,                                   §                                        August 04, 2022
                                            §                                       Nathan Ochsner, Clerk
               Plaintiff,                   §
                                            §
'Versus                                     §                         Civil Action H-22-2416
                                            §
Baylor College of Medicine,                 §
                                            §
               Defendant.                   §

                               Order on Anonymity

            Plaintiff may proceed as '1ane Doe" in place of her actual name: All
    attorneys who file must use '1ane Doe" and refrain from including any personal
    information that would identify her.   (s)



            Signed on August   -4-,   2022,      at Houston, Texas.




                                                  <Si .�. ynn N. Hughes
                                                     United States DistrictJudge
